Case 1:24-cv-03504-MMG Document 19 Filed 05/07/24 Page1of1
Case 1:24-cv-03504-MMG Documenti1-2 Filed 05/07/24 Page 1 of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THE BAHAMAS §
TELECOMMUNICATIONS COMPANY — § Case No. 1:24-cv-03504-MMG
LIMITED, §
Plaintiff, §
§ ROROSEPPEX PARTE ORDER
v. § FOR APPOINTMENT OF SUBSTITUTE

§ PROCESS SERVERS
M/V RETRIEVER, IMO No. 9694206, her
engines, tackle, furniture, apparel,
appurtenances, etc., in rem

0G 000 GOP 602 GOP

Defendant.

THIS MATTER is before the Court on Plaintiff The Bahamas Telecommunications Com-

pany Limited’s (“BTC”) Motion for Appointment of Substitute Process Servers (the “Motion”).

The Court having reviewed the applicable filimgs and law, it is hereby ORDERED AND

ADIUDGED that the Motion is GRANTED.

IT IS FURTHER ORDERED that each of Alan Swimmer, G. Robert Tony and William
O’Dell of National Maritime Services, Inc., the Substitute Custodian appointed by Order of this
Court, is hereby appointed as substitute process server to serve the Warrant of Arrest issued by
the Court’s Clerk in this action on the in rem defendant vessel M/V RETRIEVER, IMO No.

9694206, in lieu of the United States Marshal for the Southern District of New York.

SIGNED at__5 ./ Sgn this 7 aay of Mee. 2024

woyetta QALY

UNITED STATED DISTRICT JUDGE

